            Case 5:19-cv-04286-BLF Document 222 Filed 07/18/22 Page 1 of 5




1 Mark N. Todzo (Bar No. 168389)
  Eric S. Somers (Bar No. 139050)
2 LEXINGTON LAW GROUP
  503 Divisadero Street
3 San Francisco, CA 94117
  Telephone: 415-913-7800
4 mtodzo@lexlawgroup.com
  somers@lexlawgroup.com
5

6 Attorney for Plaintiffs Asif Kumandan, Melissa Spurr,
  Melissa Spurr as Guardian of B.S., a Minor,
7 Lourdes Galvan, and Eleeanna Galvan
8 [Additional Counsel on Signature Page.]

9                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN JOSE DIVISION

11 IN RE GOOGLE ASSISTANT PRIVACY                    Master Docket No.: 19-cv-04286-BLF
   LITIGATION
12                                                   PLAINTIFFS’ NOTICE OF MOTION AND
   This Document Relates to:                         MOTION FOR CLASS CERTIFICATION
13
   ALL ACTIONS                                       COMPLAINT FILED: July 25, 2019
14
                                                     Date:    October 20, 2022
15                                                   Time:    9:00 a.m.
                                                     Dept.:   Courtroom 3 – 5th Floor
16                                                   Judge:   Honorable Beth Labson Freeman

17

18

19

20

21

22
23

24

25

26

27

28
                  PLAINTIFFS’ NOTICE OF MOTION FOR CLASS CERTIFICATION
                                   Case No. 5:19-cv-04286
              Case 5:19-cv-04286-BLF Document 222 Filed 07/18/22 Page 2 of 5




 1                                NOTICE OF MOTION AND MOTION
 2 TO:      ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD

 3          PLEASE TAKE NOTICE that Plaintiffs Asif Kumandan, Melissa Spurr, Melissa Spurr as

 4 guardian B. S. (a minor), Lourdes Galvan, and Elleanna Galvan (“Plaintiffs”), by and through their

 5 undersigned counsel, hereby move this Court in Courtroom 3, 5th Floor, of the United States District

 6 Court for the Northern District of California, 280 South 1st Street, San Jose, California, 95113, on

 7 Thursday, October 20, 2022 at 9:00 a.m., or as soon thereafter as the matter may be heard, for the entry
 8 of an order: to certify the Classes and Subclasses defined in the Memorandum of Law.

 9          This motion is based on this notice of motion, Plaintiffs’ Memorandum of Law in Support of this

10 Motion, the Declaration of Margaret C. MacLean, Declaration of Dr. Rebbecca Reed-Arthurs,

11 Declaration of Dr. Fernando Torres, MSc and all supporting documents and exhibits filed therewith, the

12 pleadings and other files and records previously entered in this action, and such other written or oral

13 argument as may be presented to the Court.

14 Dated: July 18, 2022                           LOWEY DANNENBERG, P.C.

15                                                /s/ Mark N. Todzo
                                                  Mark N. Todzo (Bar No. 168389)
16                                                Eric S. Somers (Bar No. 139050)
                                                  LEXINGTON LAW GROUP
17                                                503 Divisadero Street
                                                  San Francisco, CA 94117
18                                                Telephone: 415-913-7800
                                                  mtodzo@lexlawgroup.com
19
                                                  Vincent Briganti (pro hac vice)
20                                                Christian Levis (pro hac vice)
                                                  Margaret MacLean (pro hac vice)
21                                                Andrea Farah (pro hac vice)
                                                  44 South Broadway, Suite 1100
22                                                White Plains, NY 10601
                                                  Telephone: 914-997-0500
23                                                vbriganti@lowey.com
                                                  clevis@lowey.com
24                                                mmaclean@lowey.com
                                                  afarah@lowey.com
25

26

27
                                                 1
28
                    PLAINTIFFS’ NOTICE OF MOTION FOR CLASS CERTIFICATION
                                      Case No. 5:19-cv-04286
     Case 5:19-cv-04286-BLF Document 222 Filed 07/18/22 Page 3 of 5



                                 Joseph P. Guglielmo (pro hac vice)
1                                SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                 The Helmsley Building
2                                230 Park Avenue, 17th Floor
                                 New York, NY 10169-1820
3                                Telephone: 212-223-6444
                                 jguglielmo@scott-scott.com
4
                                 Erin Green Comite (pro hac vice)
5                                SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                 156 South Main Street
6                                P.O. Box 192
                                 Colchester, CT 06415
7                                Telephone: 860-537-5537
                                 ecomite@scott-scott.com
8
                                 John T. Jasnoch (Bar No. 281605)
9                                SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                 600 W. Broadway, Suite 3300
10                               San Diego, CA 92101
                                 Telephone: 619-233-4565
11                               jjasnoch@scott-scott.com
12                               Attorneys for Plaintiffs
13

14

15

16

17

18

19

20

21

22

23

24
25

26

27

28                                     2
         PLAINTIFFS’ NOTICE OF MOTION FOR CLASS CERTIFICATION
                           Case No. 5:19-cv-04286
             Case 5:19-cv-04286-BLF Document 222 Filed 07/18/22 Page 4 of 5




1                                             ATTESTATION

2          I Mark. N. Todzo am the ECF User whose identification and password are being used to file this

3 Motion for Class Certification pursuant to Civil L.R. 5-1(i)(3), I attest under penalty of perjury that

4 concurrence in this filing has been obtained from all counsel.

5 Dated: July 18, 2022

6                                                        /s/ Mark. N. Todzo
                                                         Mark N. Todzo
7
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22
23

24

25

26

27
                                                3
28
                   PLAINTIFFS’ NOTICE OF MOTION FOR CLASS CERTIFICATION
                                     Case No. 5:19-cv-04286
             Case 5:19-cv-04286-BLF Document 222 Filed 07/18/22 Page 5 of 5




1                                      CERTIFICATE OF SERVICE

2          I hereby certify that on July 18, 2022, I electronically filed the foregoing Plaintiffs’ Motion for

3 Class Certification using the CM/ECF system, which will send notification of such filing to all counsel of

4 record registered in the CM/ECF system. I also caused a copy of the foregoing document to be served via

5 email on counsel of record for all parties.

6                                                          /s/ Mark. N. Todzo
                                                           Mark N. Todzo
7
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22
23

24

25

26

27
                                                4
28
                   PLAINTIFFS’ NOTICE OF MOTION FOR CLASS CERTIFICATION
                                     Case No. 5:19-cv-04286
